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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                         IN THE UNITED STATES DISTRICT COURT                                August 24, 2016
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk

                                   HOUSTON DIVISION

LOYD LANDON SORROW,                                §
(TDCJ-CID #1134905)                                §
                                                   §
                Plaintiff,                         §
                                                   §
vs.                                                §    CIVIL ACTION NO. H-16-2530
                                                   §
TDCJ EXECUTIVE DIRECTOR, et al.,                   §
                                                   §
               Defendants.                         §

                                MEMORANDUM AND OPINION

       Loyd Landon Sorrow, an inmate of the Texas Department of Criminal Justice - Correctional

Institutions Division, sued in August 2016, alleging a denial of access to the courts. Sorrow,

representing himself, sued the Executive Directorofthe TDCJ-CID, the University of Texas Medical

Branch in Galveston, the Terrell Unit, Dr. Erin Alison Jones, and Dr. S. Abron. The threshold issue

is whether Sorrow's claims are duplicative of claims he asserted earlier in a pending case.

       Under 28 U.S.C. § 1915A, federal courts are authorized to review, before docketing, if

feasible, or in any event as soon as practicable after docketing, a complaint in a civil action in which

a prisoner seeks redress from a governmental entity or officer or employee of a governmental entity.

The court must dismiss any part of the complaint that is frivolous, malicious, or fails to state a claim

upon which relief may be granted, or seeks monetary relief from a defendant who is immune from

such relief. A complaint is frivolous if it lacks an arguable basis in law or fact. See Denton v.

Hernandez, 504 U.S. 25, 31 (1992); Richardson v. Spurlock, 260 F.3d 495, 498 (5th Cir. 2001)

(citing Siglar v. Hightower, 112 F.3d 191,193 (5th Cir. 1997». "A complaint lacks an arguable

basis in law if it is based on an indisputably meritless legal theory, such as if the complaint alleges
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the violation of a legal interest which clearly does not exist." Davis v. Scott, 157 F.3d 1003, 1005

(5th Cir. 1998) (quoting McCormick v. Stalder, 105 F.3d 1059, 1061 (5th Cir. 1997)).

       Sorrow filed a handwritten complaint on August 12, 2016, which was filed in Civil Action

No. 4:16-2493. On August 17,2016, Sorrow filed another copy of the same handwritten complaint,

which was filed in the present case, Civil Action No.4: 16-2530. Because the complaint in Civil

Action No. 16-2493 duplicates the present case, this case is dismissed as improvidently filed.

28 U.S.C. § 1915A(b)(1). The Clerk is directed to file a copy of the complaint filed in this case in

the earlier filed case, Civil Action No.4: 16-2493.

               SIGNED on August 23, 2016, at Houston, Texas.


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                                                             Lee H. Rosenthal
                                                       United States District Judge




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